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 5                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 6                                           AT TACOMA

 7    UNITED STATES OF AMERICA,
 8                    Plaintiff,
                                                                   Case No. CR94-5074RJB
 9            v.
                                                                   ORDER GRANTING DEFENDANT’S
10    ROBERT CHARLES TILLITZ,                                      MOTION FOR TERMINATION OF
                                                                   SUPERVISED RELEASE
11                    Defendant.
12
            This matter comes before the court on the above-referenced motion (Dkt. 877). The court
13
     has considered the records and files herein and documents filed by defendant, United States
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     Probation Offices in the Western District of Washington and the Eastern District of California, and
15
     the response of the plaintiff to the motion. It appears that the showing is sufficient and that it is
16
     appropriate to grant defendant’s motion. Now, therefore, it is hereby
17
            ORDERED that Defendant’s Motion for Termination of Supervised Release Pursuant to
18
     Title 18 U.S.C. Section 3582(e)(1) is GRANTED and supervised release is hereby TERMINATED.
19
            The Clerk of the Court is instructed to send uncertified copies of this Order to all counsel of
20
     record and to any party appearing pro se at said party’s last known address.
21
            DATED this 23rd day of October, 2009.



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24                                          Robert J. Bryan
                                            United States District Judge
25

26   ORDER GRANTING DEFENDANT’S MOTION FOR TERMINATION OF SUPERVISED RELEASE- 1
